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  IT IS ORDERED as set forth below:



  Date: June 16, 2022
                                                    ________________________________
                                                                Paul Baisier
                                                        U.S. Bankruptcy Court Judge

 _______________________________________________________________




                        IN THE UNITED STATES BANKRUPTCY COURT
                             NORTHERN DISTRICT OF GEORGIA
                                    ATLANTA DIVISION

 IN RE:
                                                         CHAPTER 11
 ATLANTA LIGHT BULBS, INC.,
                                                         CASE NO. 22-52950-pmb
       Debtor.
 _____________________________________

 TANDEM BANK,
                                                         CONTESTED MATTER
          Movant,
 v.

 ATLANTA LIGHT BULBS, INC.,

          Respondent.


                ORDER GRANTING TANDEM BANK’S MOTION FOR RELIEF
                          FROM THE AUTOMATIC STAY

       This matter came before the Court for hearing on June 13, 2022, at 1:20 p.m. (the

“Hearing”) on the Motion for Relief from the Automatic Stay (the “Motion”) (Doc. No. 33) filed by

Tandem Bank (the “Movant”) on June 8, 2022. At the Hearing, Leon S. Jones and Leslie M.
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Pineyro appeared on behalf of Movant. Kathleen G. Furr and Jason M. Torf appeared on behalf

of The Official Committee of Unsecured Creditors of Atlanta Light Bulbs, Inc. Michael D. Robl and

Max Bowen appeared on behalf of Jesse Root. Thomas Dworschak appeared on behalf of

the United States Trustee. Kristen Yadlosky appeared on behalf of Sun Court Partners, LP. No

party appeared in opposition to the Motion. Upon review of the same and based upon the

findings of the Court at the Hearing which are adopted herein and made a part of this Order, it

is

        ORDERED that the Motion be, and the same hereby is, GRANTED in part as set forth in

this Order. It is further

        ORDERED that the automatic stay is modified so that Movant is authorized to repossess

and liquidate any of Movant’s collateral located at Debtor’s leased office space located at 2

Sun Court, Suite 460, Peachtree Corners, GA 30092. It is further

        ORDERED that the automatic stay is also modified so that Movant and its agents are

authorized to enter into Debtor’s premises located at 2109 Mountain Industrial Blvd, Tucker,

GA 30084 (the “Mountain Industrial Premises”) for the purposes of taking a physical inspection

and inventory of all of Movant’s collateral at such premises including but not limited to all

inventory and equipment located at the Mountain Industrial Premises, and the Debtor and all of

its officers, employees, and agents are hereby ordered to cooperate with and not to interfere

with Movant’s actions as set forth and authorized in this Order. It is further

        ORDERED that the Court defers ruling on any further relief requested in the Motion until

any further hearing on the Motion, which shall be reset upon request. It is further

        ORDERED that this Order is without prejudice to any further or other relief which Tandem

Bank may request and any party in interest’s right to object to the same. It is further

        ORDERED that this that this Order shall be effective instanter without the necessity of

any fourteen day stay, all as authorized by the provisions of Federal Rule of Bankruptcy

Procedure 4001(a)(3).

                                      [END OF DOCUMENT]
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 Prepared and presented by:                 Reviewed as to form by:
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 /s/ Leslie M. Pineyro                      /s/ Kathleen G. Furr
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 /s/ Michael D. Robl                        /s/ Jason M. Torf
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 Reviewed as to form by:
 MARY IDA TOWNSON
 UNITED STATES TRUSTEE
 REGION 21

 /s/ Thomas W. Dworschak
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GA 30084
